             Case 1:21-cr-00074-TFH Document 12 Filed 02/18/21 Page 1 of 1
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                    )
                                              )
        v.                                    )      No. 21-cr-74 (TFH)
                                              )
 JOSIAH COLT,                                 )
                                              )
                       Defendant.             )
                                              )

                                  NOTICE OF APPEARANCE

        Please enter the appearance of First Assistant Federal Public Defender Michelle

Peterson on behalf of the defendant, Josiah Colt, in the above captioned matter.


                                             Respectfully submitted,

                                             A. J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                                    /s/

                                             MICHELLE M. PETERSON
                                             First Assistant Federal Public Defender
                                             625 Indiana Avenue, N.W., Suite 550
                                             Washington, D.C. 20004
                                             (202) 208-7500
                                             Shelli_Peterson@fd.org
